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                                                                              FILED
                             NOT FOR PUBLICATION
                                                                               MAY 20 2021
                      UNITED STATES COURT OF APPEALS                       MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS


                             FOR THE NINTH CIRCUIT


 UNITED STATES OF AMERICA,                        No.   19-50300

              Plaintiff-Appellee,                 D.C. No.
                                                  2:17-cr-00697-SJO-1
 v.

 DANIEL FLINT,                                    MEMORANDUM*

              Defendant-Appellant.


                      Appeal from the United States District Court
                          for the Central District of California
                       S. James Otero, District Judge, Presiding

                          Argued and Submitted May 3, 2021
                                Pasadena, California

Before: KLEINFELD, WARDLAW, and GOULD, Circuit Judges.

      Daniel Flint challenges his conviction for knowingly and willfully entering a

sterile airport area with the intent to evade security requirements under 49 U.S.C.

§ 46314(a), (b)(2).




      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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      Flint argues that venue in the Central District of California was improper.

The district court’s failure to instruct the jury on venue was error, but because no

reasonable jury could find that venue in the Central District was improper for the

crime of entering the Los Angeles International Airport in violation of security

requirements, the error was harmless. See United States v. Moran-Garcia, 966

F.3d 966, 971 (9th Cir. 2020).



      Flint further argues that the government presented insufficient evidence to

sustain his conviction. Specifically, Flint argues that he did not commit any

element of the crime charged because he did not violate any of Los Angeles

International Airport’s security procedures. The regulations, however, speak

generally of complying with procedures used to control access to sterile areas,

regardless of whether those procedures are at the departure or arrival airport. See,

e.g., 49 C.F.R. § 1540.107(a). Regardless of what occurred in Chicago, Flint was

charged with and convicted of criminal conduct at Los Angeles International

Airport.



      Flint similarly claims that he did not “knowingly and willfully enter” the Los

Angeles International Airport terminal because he was escorted off the plane by


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law enforcement. A reasonable jury, however, could have concluded that Flint,

having voluntarily boarded a plane bound for Los Angeles International Airport,

intended to enter that airport, and did what he intended. It is generally permissible

to assume one intends the natural consequences of one’s actions. United States v.

Loera, 923 F.2d 725, 728 (9th Cir. 1991). In this case, Flint voluntarily boarded a

plane bound for Los Angeles International Airport, and a reasonable jury could

have concluded he intended to enter the Los Angeles International Airport in

violation of the procedures used to secure that area upon arrival. Furthermore,

Flint does not dispute that he physically entered the airport, albeit under the

watchful eye of law enforcement.



      Flint also claims that the indictment was constructively amended because the

specific regulations in the jury instructions were not included in the indictment.

The indictment, however, tracked the statute of conviction, as did the jury

instructions and the judgment of conviction. Thus, the indictment was not

substantially altered at trial, such “that it was impossible to know whether the

grand jury would have indicted for the crime actually proved.” See United States

v. Davis, 854 F.3d 601, 603 (9th Cir. 2017) (quoting United States v. Adamson,

291 F.3d 606, 615 (9th Cir. 2002)). Flint further claims that the jury instructions


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were defective because the regulations do not address deplaning procedures and

were thus inapplicable. This contention, however, is based on Flint’s erroneous

contention that the relevant regulations do not apply at destination airports. See,

e.g., 49 C.F.R. § 1540.107(a) (containing no textual limitation to departure

airports).



       Additionally, Flint argues that the prosecution committed reversible

misconduct by misconstruing testimonial and video evidence. Prosecutors,

however, are allowed to make reasonable inferences when arguing before the jury.

United States v. Flores, 802 F.3d 1028, 1035 (9th Cir. 2015) (citing United States

v. Sayetsitty, 107 F.3d 1405, 1409 (9th Cir. 1997)). Furthermore, contrary to Flint’s

assertions, the prosecution did not commit cumulative errors sufficient to warrant

reversal under plain error review. See id. at 1042.



       Finally, Flint argues that the government may have altered an audio clip that

possibly contained exculpatory information. This claim, however, was in Flint’s

joint post-trial petition for a writ of coram nobis and motion for a new trial.

Because Flint had not yet been sentenced, coram nobis relief was not available to

him. Telink, Inc. v. United States, 24 F.3d 42, 45 (9th Cir. 1994). Furthermore,


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because the audio recording was not new evidence, the motion for a new trial was

late. Fed. R. Crim. P. 33(b). Thus, the district court properly denied this claim on

procedural grounds.



      AFFIRMED.




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